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 1   JAN STIGLITZ (SBN 103815)                  BRETT A. BOON (SBN 283225)
 2   LAW OFFICE OF JAN STIGLITZ                 brett@boonlawoffice.com
     14462 Garden Trail                         BOON LAW
 3   San Diego, CA 92127                        411 Camino Del Rio S, Suite 106
 4   Tel.: (619) 525-1697                       San Diego, CA 92108
     Fax: (619) 615-1497                        T: (619) 358-9949
 5                                              F: (619) 365-4926
 6
     CRAIG S. BENNER (SBN 283913)               ALEXANDER J. SIMPSON
 7
     craig@bennerlawfirm.com                    (SBN 235533)
 8   BENNER LAW FIRM                            ajs@cwsl.edu
     411 Camino Del Rio S, Suite 106            225 Cedar St.
 9
     San Diego, CA 92108                        San Diego, CA 92101
10   T: (619) 595-6795                          T: (619) 515-1525
     F: (619) 595-6796                          F: (619) 615-1425
11
12   Attorneys for Plaintiff LUIS
     LORENZO VARGAS
13
                            UNITED STATES DISTRICT COURT
14
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15
16
17   LUIS LORENZO VARGAS,                         Case No. 2:16-cv-08684-SVW-AFM

18                          Plaintiff, PLAINTIFF’S REPLY IN
                                       FURTHER SUPPORT OF
19            v.                       MOTION IN LIMINE NUMBER
                                       TWO TO EXCLUDE EVIDENCE
20                                     OF PLAINTIFF’S PRIOR
     CITY OF LOS ANGELES; LOS          CONVICTIONS AND BAD ACTS
21   ANGELES POLICE
     DEPARTMENT; COUNTY OF LOS HON. STEPHEN V. WILSON
22   ANGELES; OFFICE OF THE LOS
     ANGELES DISTRICT ATTORNEY; CTRM 10A
23   LOS ANGELES SHERIFF’S
     DEPARTMENT; MONICA                Hearing Date:    June 10, 2019
24   QUIJANO; RICHARD TAMEZ;
     SCOTT SMITH; AND DOES 1-10                         1:30 pm
25   INCLUSIVE,                        Complaint Filed: November 12, 2016
                                       Trial Date:      June 25, 2016
26                       Defendants.

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 1         TO THIS COURT, ALL PARTIES, AND THEIR COUNSEL OF
 2   RECORD, PLEASE TAKE NOTICE THAT Plaintiff LUIS LORENZO VARGAS,
 3   by and through his counsel, hereby submits this Reply in Further Support of Plaintiff’s
 4   Motion in Limine Number Two to Exclude Evidence of Plaintiff’s Prior Convictions
 5   and Bad Acts.
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 2   I.       Introduction
 3            Defendants here argue that there are reasons, unrelated to Vargas’s character, as
 4   to why evidence of his prior conviction should be admitted at trial. As will be
 5   discussed, none of these reasons have legal support or overcome the prejudice that
 6   will result from the introduction of this evidence.
 7   II.      Even if Plaintiff’s Prior Incarceration is Admissible During the Damages
 8            Phase of the Trial, The Specific Nature of Vargas’s Prior Conviction is Not
 9            Citing Green v. Baca 226 F.R.D. 624 (C.D. Cal. 2005), the Defendants argue
10   that Plaintiff’s prior incarceration is relevant with regard to the jury’s consideration of
11   damages. Although Green v. Baca does support that conclusion, the court there was
12   careful to rule that while the “defendant may introduce evidence of the number and
13   duration of plaintiff's prior periods of incarcerations. Defendant may not introduce
14   evidence of the nature of, or reasons for, those incarcerations.” (Green at p. 658
15   emphasis added.) As the court stated, “The nature of the convictions that led to the
16   earlier incarcerations . . . is not relevant to damages, however, and would have a
17   prejudicial impact that would outweigh any probative value that exists.” (Green at p.
18   657.)
19   III.     Plaintiff’s Prior Conviction is Not Admissible to Explain the Length of
20            Plaintiff’s Prison Sentence
21            Defendants also claim that the jury should be told that Plaintiff was sentenced
22   to a term of 55 years-to-life because of his prior rape conviction. Defendant cites no
23   authority for that proposition and this position violates the well-established “thin skull
24   rule.”
25            Section §31 of the Restatement (Third) of Torts, entitled “Preexisting
26   Conditions and Unforeseeable Harm” states:
27                                              -1-
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 1         When an actor's tortious conduct causes harm to a person that, because of
 2         a preexisting physical or mental condition or other characteristics of the
 3         person, is of a greater magnitude or different type than might reasonably
 4         be expected, the actor is nevertheless subject to liability for all such harm
 5         to the person.
 6         Known as the “thin-skull” or “eggshell plaintiff” rule, it stands for the
 7   proposition that a “defendant takes the victim as found.”
 8         This position has been adopted by the United States Supreme Court, albeit in a
 9   different context. In United States v. Feola, 420 U.S. 671 (1975), the Court was faced
10   with the question of whether the prosecution had to show that a criminal defendant
11   knew that his assault victim was a federal officer in order to be convicted of assaulting
12   a federal officer. In rejecting the requirement that a defendant need to be aware that
13   his victim was a federal officer, the Court stated:
14         Although the perpetrator of a narcotics ‘rip-off,’ such as the one involved
15         here, may be surprised to find that his intended victim is a federal officer
16         in civilian apparel, he nonetheless knows from the very outset that his
17         planned course of conduct is wrongful. The situation is not one where
18         legitimate conduct becomes unlawful solely because of the identity of the
19         individual or agency affected. In a case of this kind the offender takes his
20         victim as he finds him.
21   Feola at p. 685.
22         Applying that rule here would preclude the Defendants from limiting liability
23   for Vargas’s 19 years of wrongful incarceration. It was their choice to deny him his
24   constitutional right to due process of law. They should not be allowed to limit their
25   financial exposure because they committed the violation against someone who was
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 1   going to have longer prison sentence because of his prior wrong as opposed to some
 2   other wrongfully convicted individual who did not have a prior.
 3          This rule was also followed in Doty v. Sewall, 908 F.2d 1053 (1st Cit. 1990),
 4   where a union member sought damages under the Landrum–Griffin Act, 29 U.S.C. §
 5   153, et seq., and for common law assault and battery, from union officers who had
 6   committed those wrongs against him. At trial, on the issue of damages, the jury was
 7   allowed to hear that plaintiff, a Vietnam veteran, suffered from PTSD. In affirming
 8   the propriety of admitting that evidence, the court, citing Feola and other cases,
 9   stated, “In personal injury law, it is well settled that in an action for damages, the
10   tortfeasor “takes his victim as he finds him.” (Doty at p. 1059.)
11   III.   The Question of Vargas’s Taking the Stand is Irrelevant
12          Defendants also argue that the “key issue” at the upcoming trial will be whether
13   the introduction of the withheld Brady material “would have caused plaintiff to testify
14   in his own behalf.” (Opposition, p. 8.) This argument makes little sense.
15          Plaintiff Vargas chose not to testify at his first trial when he did not have the
16   benefit of the withheld exculpatory material. If that material had been provided to the
17   defense, it would have undermined the prosecution’s “signature crime” theory and
18   thus would have seriously weakened the prosecution’s case and thus placed Vargas in
19   a stronger position. As a result, if the material had been disclosed, Vargas would have
20   been less likely to have taken the stand and the Defendants’ argument to the contrary
21   is both speculative and illogical.
22   IV.    The Testimony as Vargas’s Prior Conviction is Too Prejudicial Even if
23          Relevant to the Defendant’s State of Mind
24          The Defendants’ final argument is that Vargas’s prior conviction is relevant to
25   the Defendants’ state of mind in so far as Defendants are claiming qualified immunity.
26   The cases cited by Defendants are not on point. Devenpeck v. Alford, 543 U.S. 146,
27                                              -3-
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 1   152 (2004) and John v. City of El Monte, 505 F.3d 907 (9th Cir. 2007) both dealt with
 2   the question of probable cause for an arrest, which is not at issue here. Morgan v. City
 3   of Chicago, 822 F.3d 317 (7th Cir. 2016) also relates to the encounter between the
 4   police and the civil rights plaintiff but it even less on point. The testimony admitted in
 5   Morgan related to the officer’s prior experience in the neighborhood where the civil
 6   rights plaintiff had been investigated.
 7           The Brady violation at issue here relates to conduct that occurred over a period
 8   of time, not in the heat of the moment. As stated in their opposition, “By asserting a
 9   section 1983 Brady claim, plaintiff has place at the . . . [the Defendants’] state of mind
10   during the period of 1998 to June 26, 2000.”
11           In addition, Defendants seem to be arguing that knowledge of Vargas’s prior
12   made them more convinced that he was guilty. However, that is not a defense – and
13   should not be a defense – to a Brady violation. The Brady obligation exists regardless
14   of the power of a police officer’s belief that he or she has arrested the true perpetrator
15   and that person is on trial. The test under Brady is whether the material is potentially
16   exculpatory, not whether the officer believed the right person is on trial.
17           Even on the issue of qualified immunity, the fact that the Defendants might
18   have truly believed in Vargas’s guilt would not be probative or overcome the
19   prejudice of admitting Vargas’s prior. There’s an adage in the world of journalism that
20   bad reporters do not want to look at all of the facts because they might “ruin a good
21   story.” The Defendants’ failure to turn over Brady material because arguably they had
22   more reason to believe in Vargas’s guilt, actually supports the Brady claim at issue
23   here.
24           Plaintiff believes that if the issue is the jury wondering whether the Defendant
25   just “picked Vargas off the street,” the court may fashion an instruction indicating that
26   Plaintiff’s name came to their attention in some neutral, non-prejudicial manner.
27                                              -4-
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 1   Plaintiff has not and will not be arguing that the police had no basis upon which to
 2   show Vargas’s picture to victims.
 3         Finally, Defendants’ contention that Plaintiffs did not meet and confer as
 4   required by Local Rule prior to filing his Motion is demonstrably false. Please see the
 5   Declaration of Brett A. Boon filed herewith and exhibit attached thereto.
 6
 7
     DATED: May 24, 2019                          LAW OFFICES OF JAN STIGLITZ
 8
                                                  /s/ Jan Stiglitz
 9                                                Jan Stiglitz, Esq.
                                                  Attorney for Plaintiff
10                                                Luis Lorenzo Vargas
11   DATED: May 24, 2019                          BOON LAW
12                                                /s/ Brett A. Boon
13                                                Brett A. Boon, Esq.
                                                  Attorney for Plaintiff
14                                                Luis Lorenzo Vargas

15   DATED: May 24, 2019                          BENNER LAW FIRM
16                                                /s/ Craig S. Benner
17                                                Craig S. Benner, Esq.
                                                  Attorney for Plaintiff
18                                                Luis Lorenzo Vargas

19   DATED: May 24, 2019                          ALEXANDER J. SIMPSON, ESQ.

20                                                /s/ Alexander J. Simpson
                                                  Attorney for Plaintiff
21                                                Luis Lorenzo Vargas
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